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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA



                                                        Complaint for a Civil Case

                                                        Case No. _ _ _ _ _ _ _ __
(Write the full name ofeach plaintiff who is filing
                                                        (to be.filled in by the Clerk's Office)
this complaint. If the names of all the plaintiffs
cannot flt in the space above, please write "see
attached" in the space and attach an additional
                                                        Jury Trial:    .Jves       □ No
                                                                        (check one)
page with the full list of names.)


    -against-




(Write the full name ofeach defendant who is
being sued. If the names of all the defendants
cannot flt in the space above, please write "see
attached'' in the space and attach an additional
page with the full list of names.)
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I.       The Parties to This Complaint

         A.    The Plaintiff(s)

                Provide the information below for each plaintiff named in the complaint. Attach
               ,additional pages if needed.




               Provide the information below for each defendant named in the complaint,
               whether the defendant is an individual, a government agency, an organization, or
               a corporation. For an individual defendant, include the person's job or title (if
               known). Attach additional pages if needed.

               Defendant No. 1
                      Name
                      Job or Title
                      (if known)
                                             ~rt~Z~;~
                      Street Address         1060 Oe\+a Blvd, A±\acrta
                      City and County        A±\arn:a
                      State and Zip Code
                      Telephone Number
               Defendant No. 2
                      Name                   Ed Bast;ai
                      Job or Title
                      (if known)
                      Street Address
                      City and County
                      State and Zip Code
                      Telephone Number
               Defendant No. 3
                      Name .



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                      Job or Title            Ex:ecu+lve Vice Pre5ident
                      (if known)
                      Street Address
                      City and County
                      State and Zip Code
                      Telephone Number        \   8 Q O 2 2. \ - \ 2. I L
              Defendant No. 4


                                              ~i~~ ~1~h3 Of-Picer
                      Name
                      Job or Title
                      (if known)
                      Street Address          10 30 De\:ta B\\k:\J At 1anta
                      City and County         Atlan:ra
                      State and Zip Code
                      Telephone Number
II.   Basis for Jurisdiction

      Federal courts are courts of limited jurisdiction (limited power). Generally, only two
      types of cases can be heard in federal court: cases involving a federal question and cases
      involving diversity of citizenship of the parties. Under 28 U .S.C. § 1331, a case arising
      under the United States Constitution "or federal laws or treaties is a federal question case.
      Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
      State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
      case. In a diversity of citizenship case, no defendant may be a citizen of the same State
      as any plaintiff.

      What is the basis for federal court jurisdiction? (check all that apply)

            □ Federal question                           -fi Diversity of citizenship

      Fill out the paragraphs in this section that apply to this case.

      A.      If the Basis for Jurisdiction Is a Federal Question

              List the specific federal statutes, federal treaties, and/or provisions of the United
              States Constitution that are at issue in this case.




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    B.   If the Basis for Jurisdiction Is Diversity of Citizenship

          1.    The Plaintiff(s)

                a.     If the plaintiff is an individual

                       The plaintiff, (name) ~~ Bfu'is a citizen of
                       the State of (name) A=::=='==---: ~ .
                b.     If the plaintiff is a corporation

                       The plaintiff, (name) _ _ _ _ _ _ _ _ _ , is incorporated
                       under the laws of the State of (name) _ _ _ _ _ _ _ _ __
                       and has its principal place of business in the State of (name)


                (If more than one plaintiffis named in the complaint, attach an additional
                page providing the same information for each additional plaintiff.)

         2.     The Defendant(s)

                a.     If the defendant is an individual

                       The defendant, (name)    Ed  Ba.st\<Y)            , is a citizen of
                       the State of (name) A:\\aotn        (ft:ajo       Or is a citizen of
                       (foreign nation) _ _ _ _ _ _ _ _ __

                b.     If the defendant is a corporation

                       The defendant, (name)    te\ta A1c\   icf: 6 ', is
                       incorporated under the laws of the State of (name)
                       - - - - - - - - ~ and has its principal place of
                       business in the State of (name)__________ Or is
                       incorporated under the laws of (foreign nation)
                       _ _ _ _ _ _ _ _ _ _, and has its principal place of
                       business in (name) _ _ _ _ _ _ _ _ __

                (If more· than one defendant is named in the complaint, attach an
                additional page providing the same information for each additional
                defendant.)




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                3.    The Amount in Controversy

                      The amount in controversy-the amount the plaintiff claims the defendant
                      owes or the amount at stake-is more than $75,000, not counting interest
                      and costs of court, because (explain):




III.   StatementofClaim       See A-tt~
       Write a short and plain statement of the claim. Do not make legal arguments. State as
       briefly as possible the facts showing that each plaintiff is entitled to the damages or other
       relief sought. State how each defendant was involved and what each defendant did that
       caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted, number each claim
       and write a short and plain statement of each claim in a separate paragraph. Attach
       additional pages if needed.




IV.    Relief

       State briefly and precisely what damages or other relief the plaintiff asks the court to
       order. Do not make legal arguments. Include any basis f~r claiming that the wrongs
       alleged are continuing at the present time. Include the amounts of any actual damages
       claimed for the acts alleged and the basis for these amounts. Include any punitive or
       exemplary damages claimed, the amounts,, and the reasons you claim you are entitled to
       actual or punitive money damages.




             5ee An-ached
                                                 5
" Statement  5:24-cv-04232-MGL-PJG Datewith
                of claim I was upset   Filed 07/31/24 Entry Number
                                              delta airlines       1 Page
                                                              on July 8th6 of 10
                                                                           because my
  flight was delayed three times and canceled once without any explanation
  to me as a customer. At the check in desk the supervisor and the
  employees was working were very aggressive to me and boisterous but
  we were the victims in the airline. They were very rude and unprofessional
  to me and impatient when I disagreed with their negative attitude towards
  us as customers flying and made the encounter with me personal. While I
  was delayed and no response or no answer was given to me.The
  supervisor wouldn't allow me to board the airplane I feel it's racial
  discrimination against me this is the main reason why I am filing a civil
  lawsuit when I express dissatisfaction and disappointment about the
  situation I was not listen to as a delta customer. And she didn't offer me
  no hospitality of a hotel or no remedy for my time. I was lectured and
  scolded the entire time in the airport for mentioning I was not happy with
  the service.The flight attendant never disclose anything to me for the
  reasons of the delays and cancellations and told me to calm down and
  change my attitude immediately she bared me from the flight not
  allowing me to get on the plane to board. The supervisor of Delta airlines
  scheduled me for another flight in the morning next day at 8:30 am and
  made me and my father wait for about 24 hours another day. Time was
  wasted and I missed an huge business opportunity that was important to
  me in my business affairs of life. Which the airport never reimbursed my
  second flight or offered me a complimentary beverage or food
  accommodation and provided us with no hotel, reimbursement or refund.I
  am filing a lawsuit against delta airlines because I felt racial discrimination
  they have horrible customer service and do not no how to communicate
  with the customers. Before jumping to conclusions or accusations the
  first time I meet the boarding attendants. The females were very
  aggressive and acted as though they were irritated with us for checking
  in the airport.



 Relief The supervisor stated because I said something in disagreement with her of the delays and
 cancellations she quoted I don't like his attitude I'm not going to allow him to board on the plane.
 Mental anguish and physical discomfort and stress being in the airport for over 24 hours not giving a
~   mea1 or drink5:24-cv-04232-MGL-PJG
                  forced to stay with no resolution over07/31/24
                                            Date Filed   24 hours Entry
                                                                  until the next 1morning
                                                                        Number       Page flight.
                                                                                           7 of 10The
    supervisor went beyond her duties to punish me in her mind for disagreeing and showing
    dissatisfaction with the airline.I was treated like some one who never paid for service I was even
    allowed to speak and treated like a beggar with no hotels or amenities that was offer to me no food or
    no compensation for my inconvenience of time wasted and spent in the airport. Me and my father had
    to pay extra money for being delayed three times for parking. We missed an important business
    meeting because of her negligence.
meal or drink 5:24-cv-04232-MGL-PJG
              forced to stay with no resolution over07/31/24
                                         Date Filed  24 hours until
                                                              Entrythe next morning
                                                                    Number  1 Pageflight. The
                                                                                    8 of 10
supervisor went beyond her duties to punish me in her mind for disagreeing and showing
dissatisfaction with the airline.I was treated like some one who never paid for service I was even
allowed to speak and treated like a beggar with no hotels or amenities that was offer to me no food or
no compensation for my inconvenience of time wasted and spent in the airport. Me and my father had
to pay extra money for being delayed three times for parking. We missed an important business
meeting because of her negligence.
C. I am filing 5:24-cv-04232-MGL-PJG
               this civil lawsuit in Atlanta Date
                                             Georgia
                                                  Filedbecause
                                                        07/31/24I suffered with racial
                                                                    Entry Number       discrimination
                                                                                  1 Page     9 of 10 and mental
anguish from the employees that work at the boarding desk in delta airport they lack empathy and
were rude. My flight was delayed three times and canceled once without any explanation on what was
happening and why? Just before boarding I made an inquiry on why we were delayed and why they
were being hostile when we were the customers that were suffering from the constant delays and
finally cancellations. The Supervisor had an attitude with me before I even asked a question and started
to look angry. The moment I inquired about the flight the supervisor told me that I need to calm down
and book us a flight the next day why we had to suffer in the airport without any accommodations until
the next day.
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V.   Certification and Closing

     Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy
     knowledge, information, and belief that this complaint: (l) is not being presented for an
     improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
     cost of'litigation; (2) is supported by existing law or by a nonfrivolous argument for
     extending, modifying, or reversing existing law; (3) the factual contentions have
     evidentiary support or, if specifically so identified, will likely have evidentiary support
     after a reasonable opportunity for further investigation or discovery; and (4) the
     complaint otherwise complies with the requirements of Rule 11.

     A.     For Parties Without an Attorney

            I agree to provide the Clerk's Office with any changes to my address where case-
            related papers may be served. I understand that my failure to keep a current
            address on file with the Clerk's Office may resuh in the dismissal of my case.

                                     31 ,20l4.
                                         =
            Date of signing:Jiib/


            Signature of Plaintiff
            Printed Name of Plaintiff    ===          ~~
                                                           iz:L\e(
     B.     For Attorneys

            Date of signing: _____, 20_.

            Signature of Attorney
            Printed Name of Attorney
            Bar Number
            Name of Law Firm
            Address
            Telephone Number
            E-mail Address




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